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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                                NO. 4:10CR00286-05 JLH

QUANTERRIOUS CAMPBELL                                                           DEFENDANT

                                          ORDER

       Pending before the Court is defendant Quanterrious Campbell’s Motion to Continue the

change of plea hearing currently scheduled for December 9, 2011. Without objection, the motion

is GRANTED. Document #125.

       The change of plea hearing for defendant Quanterrious Campbell is hereby rescheduled for

MONDAY, DECEMBER 19, 2011, at 9:15 A.M., in Courtroom #4-D, Richard Sheppard Arnold

United States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas.

       IT IS SO ORDERED this 30th day of November, 2011.



                                                  ___________________________________
                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
